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         EXHIBIT 5
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 United States Judicial Panel on Multidistrict Litigation                                                                                                                                              Report Date: 4/1/2024

                                                                         MDL Statistics Report - Distribution of Pending MDL Dockets by District
 MDL Filters:
  Status: Transferred
  Limited to Active Litigations


District         Judge (Title)                                          Docket No. Litigation                                                                                                       Actions Now Total Actions
                                                                                                                                                                                                      Pending (Historical)

ALN              R. David Proctor (U.S. District Judge)                 MDL -2406 IN RE: Blue Cross Blue Shield Antitrust Litigation                                                                    23           90

ARE              Kristine G. Baker (U.S. District Judge)                MDL -2949 IN RE: Profemur Hip Implant Products Liability Litigation                                                             27           153

AZ               David G. Campbell (Sr. District Judge)                 MDL -2641 IN RE: Bard IVC Filters Products Liability Litigation                                                                  0          8,689
                 David G. Campbell (Sr. District Judge)                 MDL -3081 IN RE: Bard Implanted Port Catheter Products Liability Litigation                                                     116          117

CAC              James V. Selna (Sr. District Judge)                    MDL -2151 IN RE: Toyota Motor Corp. Unintended Acceleration Marketing, Sales Practices, and Products Liability Litigation        7           464
                 Philip S. Gutierrez (Chief Judge, USDC)                MDL -2668 IN RE: National Football League's "Sunday Ticket" Antitrust Litigation                                                 0            26
                 Andre Birotte, Jr (U.S. District Judge)                MDL -2814 IN RE: Ford Motor Co. DPS6 PowerShift Transmission Products Liability Litigation                                      182         1,293
                 John A. Kronstadt (Sr. District Judge)                 MDL -2905 IN RE: ZF-TRW Airbag Control Units Products Liability Litigation                                                      27            27
                 James V. Selna (Sr. District Judge)                    MDL -3052 IN RE: Kia Hyundai Vehicle Theft Marketing, Sales Practices, and Products Liability Litigation                        97            97

CAN              Jeffrey S. White (Sr. District Judge)                  MDL -1791 IN RE: National Security Agency Telecommunications Records Litigation                                                   1           50
                 Jon S. Tigar (U.S. District Judge)                     MDL -1917 IN RE: Cathode Ray Tube (CRT) Antitrust Litigation                                                                     55           75
                 Charles R. Breyer (Sr. District Judge)                 MDL -2672 IN RE: Volkswagen "Clean Diesel" Marketing, Sales Practices, and Products Liability Litigation                        130         1,888
                 Vince Chhabria (U.S. District Judge)                   MDL -2741 IN RE: Roundup Products Liability Litigation                                                                         4,281        4,834
                 Edward M. Chen (Sr. District Judge)                    MDL -2777 IN RE: Chrysler-Dodge-Jeep EcoDiesel Marketing, Sales Practices and Products Liability Litigation                       0           52
                 Vince Chhabria (U.S. District Judge)                   MDL -2843 IN RE: Facebook, Inc., Consumer Privacy User Profile Litigation                                                        38           45
                 William H. Orrick, III (U.S. District Judge)           MDL -2913 IN RE: Juul Labs, Inc., Marketing, Sales Practices, and Products Liability Litigation                                5,102        7,068
                 Maxine M. Chesney (Sr. District Judge)                 MDL -2918 IN RE: Hard Disk Drive Suspension Assemblies Antitrust Litigation                                                      31           36
                 Haywood S. Gilliam, Jr (U.S. District Judge)           MDL -2951 IN RE: StubHub Refund Litigation                                                                                        6            6
                 Richard Seeborg (Chief Judge, USDC)                    MDL -2966 IN RE: Xyrem (Sodium Oxybate) Antitrust Litigation                                                                     13           13
                 James Donato (U.S. District Judge)                     MDL -2981 IN RE: Google Play Store Antitrust Litigation                                                                          14           20
                 Edward J. Davila (U.S. District Judge)                 MDL -2985 IN RE: Apple Inc. App Store Simulated Casino-Style Games Litigation                                                    11           11
                 Charles R. Breyer (Sr. District Judge)                 MDL -2996 IN RE: McKinsey & Company, Inc., National Prescription Opiate Consultant Litigation                                   247          255
                 Edward J. Davila (U.S. District Judge)                 MDL -3001 IN RE: Google Play Store Simulated Casino-Style Games Litigation                                                       11           12
                 Yvonne Gonzalez Rogers (U.S. District Judge)           MDL -3047 IN RE: Social Media Adolescent Addiction/Personal Injury Products Liability Litigation                                439          534
                 Charles R. Breyer (Sr. District Judge)                 MDL -3084 IN RE: Uber Technologies, Inc., Passenger Sexual Assault Litigation                                                   230          232
                 Beth Labson Freeman (U.S. District Judge)              MDL -3087 IN RE: Future Motion, Inc. Products Liability Litigation                                                               43           43

CAS              John A. Houston (Sr. District Judge)                   MDL -2295 IN RE: Portfolio Recovery Associates, LLC, Telephone Consumer Protection Act (TCPA) Litigation                         1           165
                 Dana M. Sabraw (Chief Judge, USDC)                     MDL -2670 IN RE: Packaged Seafood Products Antitrust Litigation                                                                 23            84
                 Larry Alan Burns (Sr. District Judge)                  MDL -2992 IN RE: Bank of America California Unemployment Benefits Litigation                                                    29            41

DC               Beryl A. Howell (Chief Judge, USDC)                    MDL -1869 IN RE: Rail Freight Fuel Surcharge Antitrust Litigation                                                                6            24
                 Emmet G. Sullivan (Sr. District Judge)                 MDL -2165 IN RE: Endangered Species Act Section 4 Deadline Litigation                                                            3            40
                 Colleen Kollar-Kotelly (U.S. District Judge)           MDL -2656 IN RE: Domestic Airline Travel Antitrust Litigation                                                                   105          111
                 Beryl A. Howell (Chief Judge, USDC)                    MDL -2925 IN RE: Rail Freight Fuel Surcharge Antitrust Litigation (No. II)                                                      108          112

DE               Joshua D. Wolson (U.S. District Judge)                 MDL -2358 IN RE: Google Inc. Cookie Placement Consumer Privacy Litigation                                                       26           26
                 Colm F. Connolly (Chief Judge, USDC)                   MDL -2895 IN RE: Sensipar (Cinacalcet Hydrochloride Tablets) Antitrust Litigation                                                4            6
                 Richard G. Andrews (U.S. District Judge)               MDL -2930 IN RE: Entresto (Sacubitril/Valsartan) Patent Litigation                                                               6           25
                 Richard G. Andrews (U.S. District Judge)               MDL -3017 IN RE: Xarelto (Rivaroxaban) ('310) Patent Litigation                                                                 16           24
                 Colm F. Connolly (Chief Judge, USDC)                   MDL -3038 IN RE: Ozempic (Semaglutide) Patent Litigation                                                                         8            9

                 Harvey E. Schlesinger (Sr. District Judge)
FLM                                                                      MDL -2626 IN RE: Disposable Contact Lens Antitrust Litigation                                                                   1           60
                 Virginia Maria Hernandez Covington (Sr. District Judge)
                 Roy B. Dalton, Jr (Sr. District Judge)                  MDL -3006 IN RE: Tasigna (Nilotinib) Products Liability Litigation                                                             37           38

FLN              M. Casey Rodgers (U.S. District Judge)                 MDL -2885 IN RE: 3M Combat Arms Earplug Products Liability Litigation                                                         271,118      391,398



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FLS         Kenneth A. Marra (Sr. District Judge)            MDL -1916 IN RE: Chiquita Brands International, Inc., Alien Tort Statute and Shareholders Derivative Litigation        19       31
            Federico A. Moreno (Sr. District Judge)          MDL -2599 IN RE: Takata Airbag Products Liability Litigation                                                          177      350
            K. Michael Moore (U.S. District Judge)           MDL -2832 IN RE: Liquid Toppings Dispensing System ('447) Patent Litigation                                            15       15
            Darrin P. Gayles (U.S. District Judge)           MDL -2841 IN RE: MONAT Hair Care Products Marketing, Sales Practices and Products Liability Litigation                 13       13
            Robin L. Rosenberg (U.S. District Judge)         MDL -2924 IN RE: Zantac (Ranitidine) Products Liability Litigation                                                   14,396   15,002
            Cecilia M. Altonaga (Chief Judge, USDC)          MDL -2989 IN RE: January 2021 Short Squeeze Trading Litigation                                                         63       68
            Rodolfo A. Ruiz, II (U.S. District Judge)        MDL -2994 IN RE: Mednax Services, Inc., Customer Data Security Breach Litigation                                        6        6
            K. Michael Moore (U.S. District Judge)           MDL -3076 IN RE: FTX Cryptocurrency Exchange Collapse Litigation                                                       36       36
            Rodolfo A. Ruiz, II (U.S. District Judge)        MDL -3090 IN RE: Fortra File Transfer Software Data Security Breach Litigation                                         50       50

GAN         Richard W. Story (Sr. District Judge)            MDL -2782 IN RE: Ethicon Physiomesh Flexible Composite Hernia Mesh Products Liability Litigation                       92     4,052
            Leigh Martin May (U.S. District Judge)           MDL -2974 IN RE: Paragard IUD Products Liability Litigation                                                          2,614    2,692
            Eleanor L. Ross (U.S. District Judge)            MDL -3051 IN RE: ARC Airbag Inflators Products Liability Litigation                                                    24       24
            Steven D. Grimberg (U.S. District Judge)         MDL -3056 IN RE: Overby-Seawell Company Customer Data Security Breach Litigation                                       10       10

ILN         Manish S. Shah (U.S. District Judge)             MDL -2492 IN RE: National Collegiate Athletic Association Student-Athlete Concussion Injury Litigation                586      600
            Harry D. Leinenweber (Sr. District Judge)        MDL -2580 IN RE: Opana ER Antitrust Litigation                                                                         14       14
            Rebecca R. Pallmeyer (Chief Judge, USDC)         MDL -2817 IN RE: Dealer Management Systems Antitrust Litigation                                                        18       23
            Manish S. Shah (U.S. District Judge)             MDL -2842 IN RE: Chicago Board Options Exchange Volatility Index Manipulation Antitrust Litigation                      2       29
            Virginia M. Kendall (U.S. District Judge)        MDL -2867 IN RE: Local TV Advertising Antitrust Litigation                                                             16       23
            Elaine E. Bucklo (Sr. District Judge)            MDL -2931 IN RE: Delta Dental Antitrust Litigation                                                                     27       28
            Rebecca R. Pallmeyer (Chief Judge, USDC)         MDL -2948 IN RE: TikTok, Inc., Consumer Privacy Litigation                                                             13       39
            Edmond E. Chang (U.S. District Judge)            MDL -2964 IN RE: Society Insurance Company COVID-19 Business Interruption Protection Insurance Litigation              55       56
            Sharon Johnson Coleman (U.S. District Judge)     MDL -2967 IN RE: Clearview AI, Inc., Consumer Privacy Litigation                                                        9       14
            John Robert Blakey (U.S. District Judge)         MDL -3009 IN RE: Seresto Flea and Tick Collar Marketing, Sales Practices and Products Liability Litigation             26       26
            Rebecca R. Pallmeyer (Chief Judge, USDC)         MDL -3026 IN RE: Abbott Laboratories, et al., Preterm Infant Nutrition Products Liability Litigation                  453      518
            Iain D. Johnston (U.S. District Judge)           MDL -3030 IN RE: Deere & Company Repair Services Antitrust Litigation                                                  15       16
            Matthew F. Kennelly (Sr. District Judge)         MDL -3037 IN RE: Recalled Abbott Infant Formula Products Liability Litigation                                         100      125
            Sara L. Ellis (U.S. District Judge)              MDL -3059 IN RE: Beyond Meat, Inc., Protein Content Marketing and Sales Practices Litigation                            6        6
            Mary M. Rowland (U.S. District Judge)            MDL -3060 IN RE: Hair Relaxer Marketing, Sales Practices, and Products Liability Litigation                          8,387    8,670
            Thomas M. Durkin (U.S. District Judge)           MDL -3079 IN RE: Tepezza Marketing, Sales Practices, and Products Liability Litigation                                101      101

ILS         Nancy J. Rosenstengel (Chief Judge, USDC)        MDL -3004 IN RE: Paraquat Products Liability Litigation                                                              5,365    6,234

INS         Richard L. Young (U.S. District Judge)           MDL -2570 IN RE: Cook Medical, Inc., IVC Filters Marketing, Sales Practices and Products Liability Litigation        7,683    11,358

KS          John W. Lungstrum (Sr. District Judge)           MDL -2591 IN RE: Syngenta AG MIR162 Corn Litigation                                                                    1      2,435

KYW         David J. Hale (U.S. District Judge)              MDL -2504 IN RE: Amazon.com, Inc., Fulfillment Center Fair Labor Standards Act (FLSA) and Wage and Hour Litigation     3       12

LAE         Eldon E. Fallon (U.S. District Judge)            MDL -2047 IN RE: Chinese-Manufactured Drywall Products Liability Litigation                                           140      422
            Carl J. Barbier (U.S. District Judge)            MDL -2179 IN RE: Oil Spill by the Oil Rig "Deepwater Horizon" in the Gulf of Mexico, on April 20, 2010                 23     6,147
            Eldon E. Fallon (U.S. District Judge)            MDL -2592 IN RE: Xarelto (Rivaroxaban) Products Liability Litigation                                                  865     31,965
            Jane Triche Milazzo (U.S. District Judge)        MDL -2740 IN RE: Taxotere (Docetaxel) Products Liability Litigation                                                  9,541    15,587
            Jane Triche Milazzo (U.S. District Judge)        MDL -3023 IN RE: Taxotere (Docetaxel) Eye Injury Products Liability Litigation                                        268      279

MA          Nathaniel M. Gorton (U.S. District Judge)        MDL -2566 IN RE: TelexFree Securities Litigation                                                                       4        15
            Indira Talwani (U.S. District Judge)             MDL -2768 IN RE: Stryker LFIT V40 Femoral Head Products Liability Litigation                                          262     1,197
            Denise J. Casper (U.S. District Judge)           MDL -2938 IN RE: Evenflo Company, Inc., Marketing, Sales Practices and Products Liability Litigation                   0        28
            Patti B. Saris (U.S. District Judge)             MDL -3029 IN RE: Covidien Hernia Mesh Products Liability Litigation (No. II)                                         1,089    1,091
            Allison D. Burroughs (U.S. District Judge)       MDL -3083 IN RE: MOVEit Customer Data Security Breach Litigation                                                      310      313

MD          Catherine C. Blake (Sr. District Judge)          MDL -2775 IN RE: Smith & Nephew Birmingham Hip Resurfacing (BHR) Hip Implant Products Liability Litigation            137     1,080
            John P. Bailey (U.S. District Judge)             MDL -2879 IN RE: Marriott International, Inc., Customer Data Security Breach Litigation                               73        91

MIE         Sean F. Cox (Chief Judge, USDC)                  MDL -2311 IN RE: Automotive Parts Antitrust Litigation                                                                20       382
            David M. Lawson (Sr. District Judge)             MDL -2744 IN RE: FCA US LLC Monostable Electronic Gearshift Litigation                                                 0        39
            Matthew F. Leitman (U.S. District Judge)         MDL -2818 IN RE: General Motors Air Conditioning Marketing and Sales Practices Litigation                             15        15
            Terrence G. Berg (U.S. District Judge)           MDL -3034 IN RE: Neo Wireless, LLC, Patent Litigation                                                                  7         9
            David M. Lawson (Sr. District Judge)             MDL -3040 IN RE: Chrysler Pacifica Fire Recall Products Liability Litigation                                          11        12

MN          Donovan W. Frank (Sr. District Judge)            MDL -2441 IN RE: Stryker Rejuvenate and ABG II Hip Implant Products Liability Litigation                               71     3,637
            John R. Tunheim (U.S. District Judge)            MDL -2642 IN RE: Fluoroquinolone Products Liability Litigation                                                          5     1,270
            Joan N. Ericksen (Sr. District Judge)            MDL -2666 IN RE: Bair Hugger Forced Air Warming Devices Products Liability Litigation                                6,339    7,253
            John R. Tunheim (U.S. District Judge)            MDL -2998 IN RE: Pork Antitrust Litigation                                                                             38       38

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            John R. Tunheim (U.S. District Judge)            MDL -3031 IN RE: Cattle and Beef Antitrust Litigation                                                                                                          34       34

MOE         Stephen N. Limbaugh, Jr (Sr. District Judge)     MDL -2820 IN RE: Dicamba Herbicides Litigation                                                                                                                 31       55
            Sarah E. Pitlyk (U.S. District Judge)            MDL -2993 IN RE: Crop Inputs Antitrust Litigation                                                                                                              27       28

MOW         Stephen R. Bough (U.S. District Judge)           MDL -2936 IN RE: Smitty's/CAM2 303 Tractor Hydraulic Fluid Marketing, Sales Practices and Products Liability Litigation                                         9       11
            Beth Phillips (Chief Judge, USDC)                MDL -2945 IN RE: Ahern Rentals, Inc., Trade Secret Litigation                                                                                                  12       19
            Beth Phillips (Chief Judge, USDC)                MDL -2984 IN RE: Folgers Coffee Marketing and Sales Practices Litigation                                                                                        8       13
            Brian C. Wimes (U.S. District Judge)             MDL -3073 IN RE: T-Mobile 2022 Customer Data Security Breach Litigation                                                                                        18       18

NCM         Thomas D. Schroeder (Chief Judge, USDC)          MDL -3062 IN RE: Crop Protection Products Loyalty Program Antitrust Litigation                                                                                 30       44

NCW         Kenneth D. Bell (U.S. District Judge)            MDL -3036 IN RE: Gardasil Products Liability Litigation                                                                                                        168      171

NH          Landya B. McCafferty (Chief Judge, USDC)         MDL -2753 IN RE: Atrium Medical Corp. C-Qur Mesh Products Liability Litigation                                                                                2,535    3,548

NJ          Claire C. Cecchi (U.S. District Judge)           MDL -1663 IN RE: Insurance Brokerage Antitrust Litigation                                                                                                        1       52
            Karen M. Williams (U.S. District Judge)          MDL -2243 IN RE: Fosamax (Alendronate Sodium) Products Liability Litigation (No. II)                                                                             5     1,288
            Peter G. Sheridan (Sr. District Judge)           MDL -2332 IN RE: Lipitor Antitrust Litigation                                                                                                                    6       34
            Michael A. Shipp (U.S. District Judge)           MDL -2738 IN RE: Johnson & Johnson Talcum Powder Products Marketing, Sales Practices and Products Liability Litigation                                        53,939   55,072
            Michael A. Shipp (U.S. District Judge)           MDL -2779 IN RE: FieldTurf Artificial Turf Marketing and Sales Practices Litigation                                                                             15       17
            Claire C. Cecchi (U.S. District Judge)           MDL -2789 IN RE: Proton-Pump Inhibitor Products Liability Litigation (No. II)                                                                                 12,814   18,668
            Robert B. Kugler (Sr. District Judge)            MDL -2875 IN RE: Valsartan, Losartan, and Irbesartan Products Liability Litigation                                                                            1,240    1,407
            Madeline C. Arleo (U.S. District Judge)          MDL -2904 IN RE: American Medical Collection Agency, Inc., Customer Data Security Breach Litigation                                                             44       56
            Brian R. Martinotti (U.S. District Judge)        MDL -2921 IN RE: Allergan Biocell Textured Breast Implant Products Liability Litigation                                                                       1,202    1,259
            Brian R. Martinotti (U.S. District Judge)        MDL -2973 IN RE: Elmiron (Pentosan Polysulfate Sodium) Products Liability Litigation                                                                          1,835    1,982
            Christine P. O'Hearn (U.S. District Judge)       MDL -3055 IN RE: Samsung Customer Data Security Breach Litigation                                                                                               16       17
            Brian R. Martinotti (U.S. District Judge)        MDL -3080 IN RE: Insulin Pricing Litigation                                                                                                                     49       50

NM          James O. Browning (U.S. District Judge)          MDL -2695 IN RE: Santa Fe Natural Tobacco Company Marketing and Sales Practices Litigation                                                                     17       17
            William P. Johnson (Chief Judge, USDC)           MDL -2824 IN RE: Gold King Mine Release in San Juan County, Colorado, on August 5, 2015                                                                         2        7

NYE         Margo K. Brodie (Chief Judge, USDC)              MDL -1720 IN RE: Payment Card Interchange Fee and Merchant Discount Antitrust Litigation                                                                        70      131
            Nicholas G. Garaufis (Sr. District Judge)        MDL -3044 IN RE: Exactech Polyethylene Orthopedic Products Liability Litigation                                                                               1,401    1,401
            Brian M. Cogan (Sr. District Judge)              MDL -3089 IN RE: Oral Phenylephrine Marketing and Sales Practices Litigation                                                                                    93       93
            Rachel P. Kovner (U.S. District Judge)           MDL -3096 IN RE: Perry Johnson & Associates Medical Transcription Data Security Breach Litigation                                                               51       51

NYS         Vernon S. Broderick (U.S. District Judge)        MDL -1358 IN RE: Methyl Tertiary Butyl Ether ("MTBE") Products Liability Litigation                                                                            14       190
            George B. Daniels (Sr. District Judge)           MDL -1570 IN RE: Terrorist Attacks on September 11, 2001                                                                                                       363      373
            Naomi Reice Buchwald (Sr. District Judge)        MDL -2262 IN RE: Libor-Based Financial Instruments Antitrust Litigation                                                                                        45        81
            Vernon S. Broderick (U.S. District Judge)        MDL -2542 IN RE: Keurig Green Mountain Single-Serve Coffee Antitrust Litigation                                                                                21        30
            J. Paul Oetken (U.S. District Judge)             MDL -2704 IN RE: Interest Rate Swaps Antitrust Litigation                                                                                                      10        11
            Paul A. Crotty (Sr. District Judge)              MDL -2859 IN RE: Zimmer M/L Taper Hip Prosthesis or M/L Taper Hip Prosthesis with Kinectiv Technology and Versys Femoral Head Products Liability Litigation     11      331
            Lewis A. Kaplan (Sr. District Judge)             MDL -2865 IN RE: Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen) Tax Refund Scheme Litigation                                   173      187
            P. Kevin Castel (Sr. District Judge)             MDL -3010 IN RE: Google Digital Advertising Antitrust Litigation                                                                                                 8       36
            Paul A. Engelmayer (U.S. District Judge)         MDL -3028 IN RE: ONE Apus Container Ship Incident on November 30, 2020                                                                                         76        79
            Denise L. Cote (Sr. District Judge)              MDL -3043 IN RE: Acetaminophen - ASD/ADHD Products Liability Litigation                                                                                        562      615
            Katherine Polk Failla (U.S. District Judge)      MDL -3050 IN RE: Chantix (Varenicline) Marketing, Sales Practices and Products Liability Litigation (No. II)                                                   17        17

NYW         Geoffrey W. Crawford (Chief Judge, USDC)         MDL -2903 IN RE: Fisher-Price Rock 'n Play Sleeper Marketing, Sales Practices, and Products Liability Litigation                                               16       16

OHN         Jeffrey J. Helmick (U.S. District Judge)         MDL -2197 IN RE: DePuy Orthopaedics, Inc., ASR Hip Implant Products Liability Litigation                                                                       237     10,443
            Dan A. Polster (Sr. District Judge)              MDL -2804 IN RE: National Prescription Opiate Litigation                                                                                                      3,060    3,232
            J. Philip Calabrese (U.S. District Judge)        MDL -3092 IN RE: Suboxone (Buprenorphine/Naloxone) Film Products Liability Litigation                                                                           44       44
            Donald C. Nugent (Sr. District Judge)            MDL -3093 IN RE: Pipe Flashing Patent Litigation                                                                                                                 3        3

OHS         Edmund A. Sargus, Jr (U.S. District Judge)       MDL -2433 IN RE: E. I. du Pont de Nemours and Company C-8 Personal Injury Litigation                                                                            24     3,720
            Edmund A. Sargus, Jr (U.S. District Judge)       MDL -2846 IN RE: Davol, Inc./C.R. Bard, Inc., Polypropylene Hernia Mesh Products Liability Litigation                                                         21,673   22,455

OKE         Robert J. Shelby (Chief Judge, USDC)             MDL -2977 IN RE: Broiler Chicken Grower Antitrust Litigation (No. II)                                                                                           5        5

OKN         Gregory K Frizzell (Chief Judge, USDC)           MDL -2700 IN RE: Genentech, Inc., Herceptin (Trastuzumab) Marketing and Sales Practices Litigation                                                             15       15

PAE         Cynthia M. Rufe (Sr. District Judge)             MDL -1871 IN RE: Avandia Marketing, Sales Practices and Products Liability Litigation                                                                           0      5,299
            Anita B. Brody (Sr. District Judge)              MDL -2323 IN RE: National Football League Players' Concussion Injury Litigation                                                                                329      352

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                 Mitchell S. Goldberg (U.S. District Judge)             MDL -2445 IN RE: Suboxone (Buprenorphine Hydrochloride and Naloxone) Antitrust Litigation                         11         17
                 Timothy J. Savage (Sr. District Judge)                 MDL -2460 IN RE: Niaspan Antitrust Litigation                                                                    20          23
                 Cynthia M. Rufe (Sr. District Judge)                   MDL -2724 IN RE: Generic Pharmaceuticals Pricing Antitrust Litigation                                            129        202
                 Nitza I. Quinones Alejandro (U.S. District Judge)      MDL -2833 IN RE: FedLoan Student Loan Servicing Litigation                                                         9         10
                 Harvey Bartle, III (Sr. District Judge)                MDL -2848 IN RE: Zostavax (Zoster Vaccine Live) Products Liability Litigation                                    856       2,664
                 Gene E.K. Pratter (U.S. District Judge)                MDL -3094 IN RE: Glucagon-like Peptide-1 Receptor Agonists (GLP-1 RAs) Products Liability Litigation             74          74

PAM              Christopher C. Conner (U.S. District Judge)            MDL -2816 IN RE: Sorin 3T Heater-Cooler System Products Liability Litigation (No. II)                             6        105

PAW              W. Scott Hardy (U.S. District Judge)                   MDL -2862 IN RE: Diisocyanates Antitrust Litigation                                                              12         12
                 Mark R. Hornak (Chief Judge, USDC)                     MDL -2969 IN RE: Erie COVID-19 Business Interruption Protection Insurance Litigation                             32         32
                 J. Nicholas Ranjan (U.S. District Judge)               MDL -2988 IN RE: All-Clad Metalcrafters, LLC, Cookware Marketing and Sales Practices Litigation                   4          4
                 Joy Flowers Conti (Sr. District Judge)                 MDL -3014 IN RE: Philips Recalled CPAP, Bi-Level PAP, and Mechanical Ventilator Products Liability Litigation    762       843
                 Joy Flowers Conti (Sr. District Judge)                 MDL -3021 IN RE: SoClean, Inc., Marketing, Sales Practices and Products Liability Litigation                     41         62

SC               Richard M. Gergel (U.S. District Judge)                MDL -2873 IN RE: Aqueous Film-Forming Foams Products Liability Litigation                                        7,738     7,939
                 Joseph F. Anderson, Jr (Sr. District Judge)            MDL -2972 IN RE: Blackbaud, Inc., Customer Data Security Breach Litigation                                         28        31

TNM              Waverly D. Crenshaw, Jr (Chief Judge, USDC)            MDL -3071 IN RE: RealPage, Inc., Rental Software Antitrust Litigation (No. II)                                    9         43

TNW              Sheryl H. Lipman (U.S. District Judge)                 MDL -3032 IN RE: Family Dollar Stores, Inc., Pest Infestation Litigation                                          14        14
                 S. Thomas Anderson (Chief Judge, USDC)                 MDL -3035 IN RE: AME Church Employee Retirement Fund Litigation                                                    6         6

TXE              James Rodney Gilstrap (Chief Judge, USDC)              MDL -3042 IN RE: Taasera Licensing, LLC, Patent Litigation                                                        1         8

TXN              David C. Godbey (Chief Judge, USDC)                    MDL -2099 IN RE: Stanford Entities Securities Litigation                                                          24       155
                 James Edgar Kinkeade (U.S. District Judge)             MDL -2244 IN RE: DePuy Orthopaedics, Inc., Pinnacle Hip Implant Products Liability Litigation                      0      10,581

VAE              Claude M. Hilton (Sr. District Judge)                  MDL -3072 IN RE: Air Crash Into the Java Sea on January 9, 2021                                                   22        22

WIE              William C. Griesbach (Sr. District Judge)              MDL -3064 IN RE: Harley-Davidson Aftermarket Parts Marketing, Sales Practices and Antitrust Litigation            9         9
                 Lynn S. Adelman (U.S. District Judge)                  MDL -3078 IN RE: Generac Solar Power Systems Marketing, Sales Practices and Products Liability Litigation         9         9

Report Totals:                                                              168                                                                                                         454,429   697,781

  Total Number of MDL Dockets: 168
  Total Number of Transferee Districts: 46



  Total Number of Transferee Judges: 141
               22 Chief Judge, USDC
               45 Sr. District Judge
               74 U.S. District Judge

                                                   -- All Counts Are Based on the Report Filters Selected When Running the Report --

                                                                                                                                   Percent of                           Percent of
  Docket Count      Range of the Number of Actions PENDING in a Docket                                                                             Action Count
                                                                                                                                    Dockets                              Actions
       45            MDLs with between 0 and 10 Pending Actions                                                                     26.79%                206             0.05%
       75            MDLs with between 11 and 100 Pending Actions                                                                   44.64%                2,436           0.54%
       27            MDLs with 101 and 999 Pending Actions                                                                          16.07%                8,435           1.86%
       21            MDLs with 1,000 or more Pending Actions                                                                         12.5%               443,352         97.56%



                                                                                                                                   Percent of                           Percent of
  Docket Count      Range of the Number of TOTAL Actions in a Docket                                                                               Action Count
                                                                                                                                    Dockets                              Actions
       16            MDLs with between 0 and 10 Actions                                                                              9.52%                 113            0.02%
       84            MDLs with between 11 and 100 Actions                                                                             50%                 2,982           0.43%
       30            MDLs with 101 and 999 Actions                                                                                  17.86%                8,888           1.27%
       38            MDLs with 1,000 or more Actions                                                                                22.62%               685,798         98.28%




https://jpml-ecf.sso.dcn/cgi-bin/JPML_Stats.pl?114640800375705-L_612_0-1                                                                                                                                    4/4
